Case 1:19-cv-00917-RDA-WEF Document 198 Filed 09/23/22 Page 1 of 13 PageID# 3384




                              IN THE UNITED STATES DISTRICT COURT
                              FOR THE EASTERN DISTRICT OF VIRGINIA

                                                Alexandria Division

      B.R.,                                                 )
                                                            )
                      Plaintiff,                            )
                                                            )
      v.                                                    )     Civil No. 1:19-cv-00917-RDA-WEF
                                                            )
      FAIRFAX COUNTY SCHOOL BOARD,                          )
      et al.,                                               )
                                                            )
                      Defendants.                           )

           MEMORANDUM IN SUPPORT OF MOTION TO AMEND THE STIPULATED
                             PROTECTIVE ORDER1

              In its March 10, 2020, Order, this Court acknowledged that “Plaintiff’s claims in her

  Complaint are egregious” and that “the subject matter of such claims certainly warrants the

  utmost level of privacy.” Order at 47, B.R. v. F.C.S.B., et al., Civil Case No. 1:19-cv-00917

  (E.D.Va. Mar. 10, 2020); see also B.R. v. F.C.S.B., 17 F.4th 485 (4th Cir. 2021). Rule 26(c) of

  the Federal Rules of Civil Procedure provide that the Court “may, for good cause, issue an order

  to protect a party or person from annoyance, embarrassment, oppression, or undue burden or

  expense.” In light of the nature of the allegations at issue in this matter – the brutal gang rapes,

  sexual assaults, and repeated harassment of a 12-year old girl – and the nature of the materials

  involved in discovery in this matter -- including intensely personal photographs developed as

  part of a sexual assault nurse examiner report, therapy notes for the Plaintiff’s current medical

  provider, and contact information for a person suffering from post-traumatic stress disorder –




  1
   As described below in the Relevant Facts section, the parties have conferred regarding modifications to the
  Stipulated Protective Order, but where unable to come to an agreement.

                                                           1
Case 1:19-cv-00917-RDA-WEF Document 198 Filed 09/23/22 Page 2 of 13 PageID# 3385




  there is good cause to amend the Stipulated Protective Order to create a designation for highly

  confidential/attorneys’ eyes only material.

         This protective order is requested to safeguard B.R., a child sex abuse victim and

  survivor of numerous gang rapes, from further physical, mental, and emotional harm. It seeks to

  ensure her safety by not disclosing her physical location and daily activities from her named

  perpetrators as well as 15 unnamed defendants who remain at large and pose a threat. According

  to her providers, even the perception that B.R.'s location is known causes great mental and

  emotional harm to her. The proposed order also serves to protect B.R. 's right to continuing

  medical treatment with total trust and confidence that medical records subpoenaed and shared are

  relevant, proportionate and not unduly burdensome.

         The proposed order seeks to afford Plaintiff privacy with irrelevant sensitive or

  embarrassing personal matters (including unnecessary disclosure that she is a victim of child sex

  abuse) that add little to no value to the case. It also seeks to protect any matters she may have

  shared with her therapists in the course of her necessary treatment that otherwise fall under

  attorney client privilege. Due to the highly sensitive nature of the records, the protective order

  also asks for attorney eyes only for all of B.R. 's medical, SANE, and therapy records (as well as

  any potential photographs or videos of abuse that may surface).

         Moreover, in light of the needs of the case, which include allegations of a pattern or

  practice of downplaying sexual harassment and assault, and the provisions for the Family

  Educational Rights and Privacy Act (“FERPA”) itself, which create an exception for materials

  produced in response to a lawful subpoena or court order, and in the interest of judicial

  efficiency, there is good cause to amend the FERPA provisions of the Stipulated Protective

  Order to expedite the production of responsive records.



                                                    2
Case 1:19-cv-00917-RDA-WEF Document 198 Filed 09/23/22 Page 3 of 13 PageID# 3386




                                                 RELEVANT FACTS

           This case arises from the severe sexual abuse of a 12-year-old child who was repeatedly

  gang raped, assaulted, and harassed. SAC at ¶ 173. In April 2022, the parties (including plaintiff,

  represented by prior counsel) agreed to a Stipulated Protective Order, which was adopted by the

  Court. ECF No. 135. On September 9, 2022, Plaintiff filed two motions to quash or quash

  pending modification of the protective order three subpoenas to three of Plaintiff’s most recent

  therapy providers, including Plaintiff’s current therapist. See ECF Nos. 185-189. On September

  14, 2022, Plaintiff provided a draft modified protective order to counsel for defendant F.C.S.B.

  for discussion. On September 15, 2022, Plaintiff provided a draft modified protective order to

  counsel for all defendants for discussion. On September 16, 2022, the Court directed the parties

  to confer regarding a modified protective order and, if unable to reach agreement, submit

  proposals for modifications to the Court by 5:00 pm on September 23, 2022. Counsel for the

  parties conferred via telephone on Monday, September 19, 2022. On Wednesday afternoon,

  September 21, 2022, the Defendants sent Plaintiff a set of collective response edits. Plaintiff

  replied with alternative edits within 24-hours. Shortly thereafter, Defendant F.C.S.B.

  “reject[ed]” Plaintiff’s proposal and indicated that they would proceed with filing a brief

  regarding the protective order. Thus, at this time, the parties have conferred regarding
                                                                                                              2
  modifications of the Stipulated Protective Order and been unable to reach agreement.

                                   EXPLANATION OF PROPOSED EDITS

           “[W]hen a plaintiff asserts a claim of sexual harassment, the parameters of discovery

  have long been narrowed by the courts’ interest in guarding against attempts to ‘harass,


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   The Court also requested that the plaintiff submit for in camera review any records that she would seek to protect.
  Plaintiff asks the Court to please note that at the time of this filing, the plaintiff does not yet have the records from
  her current treating doctor, Dr. Ward. The plaintiff will submit the records, as appropriate and necessary, for in
  camera review as soon as they are received and reviewed by her counsel.

                                                              3
Case 1:19-cv-00917-RDA-WEF Document 198 Filed 09/23/22 Page 4 of 13 PageID# 3387




  intimidate, and discourage the plaintiff in her efforts to prosecute her cause.’” T.C. on Behalf of

  S.C. v. Metro. Gov’t of Nashville & Davidson Cnty., Case Nos. 3:17-cv-01098, 3:17-cv-01159,

  3:17-cv-01209, 3:17-cv-01277, & 3:17-cv-01427, 2018 WL 3348728 at *8 (M.D. Tenn. Jul. 9,

  2018) (quoting Priest v. Rotary, 98 F.R.D. 755, 761 (N.D. Cal. 1983)); see also Mitchell v.

  Hutchings, 116 F.R.D. 481, 483 (D. Utah 1987) (“Broad discovery has been coupled, however,

  with an array of protective orders designed to prevent discovery from being used as a tool of

  oppression rather than as a legitimate inquiry into relevant issues.”).

         a. Highly Confidential Material (Attorney’s Eyes-Only Designation)

             Plaintiff proposes to add a new category of materials, “highly confidential material.” As

  described more fully in section 4, “Highly confidential material” is intended to be an “attorneys’

  eyes only” category for particularly sensitive materials. These particularly sensitive materials

  are:

            Therapy notes from Plaintiff’s current treating doctor;

            The photographs in Plaintiff’s Sexual Assault Nurse Examiner (“SANE”) report;

            Photographs in Plaintiff’s medical records;

            Photographs or video of sexual abuse;

            Plaintiff’s current address, phone number, and email address, and

            The current address, phone number, and email address of members of Plaintiff’s
             immediate family.

             i.     Therapy Notes from Plaintiff’s Current Treating Doctor

             As described in Plaintiff’s Motion to Quash Subpoena to Dr. Rachel Ward, Plaintiff’s

  current mental health provided has attested to concerns that the disclosure of her records of

  treatment “would create a risk of harm to B.R.’s safety, well-being, and trust in the treatment

  process by destroying the confidentiality of the patient-therapist relationship.” See ECF No.

                                                      4
Case 1:19-cv-00917-RDA-WEF Document 198 Filed 09/23/22 Page 5 of 13 PageID# 3388




  186-1 (Declaration of Dr. Rachel Ward, MD). Dr. Ward went on to attest that “[i]n [her]

  professional opinion, if B.R. loses the right to privacy of her present-day mental health treatment

  notes, she loses the ability to speak freely, develop trust, or feel safe in a setting that requires that

  safety and trust for healing to take place.” Id. Further limiting the scope of dissemination of

  records of Plaintiff’s current mental health treatment helps mitigate some of these harms by

  striking a more equitable balance between the defense’s need for information sufficient to assess

  the claims against them and conduct a defense and Plaintiff’s need to be able to receive effective

  mental health treatment.

          As the Supreme Court has recognized “Effective psychotherapy . . . depends upon an

  atmosphere of confidence and trust in which the patient is willing to make a frank and complete

  disclosure of facts, emotions, memories, and fears.” Jaffee v. Redmond, 518 U.S. 1, 10 (1996).

  Accordingly, “the mere possibility of disclosure may impede development of the confidential

  relationship necessary for successful treatment.” Id. See also Vasconcellos v. Cybex Intern., Inc.,

  962 F. Supp. 701, 708-709 (D. Md. 1997) (noting that concern that disclosure of therapy records

  would harm the confidential patient-therapist relationship “is still an important consideration to

  the Court, even if [the Plaintiff] has placed her mental state at issue.”).

          In a similar situation, this Court recognized that “[a] plaintiff seeking emotional distress

  damages ‘has a right to have discovery limited to information that is directly relevant to the

  lawsuit’” and specified that while some of Plaintiff’s medical records were relevant and

  discoverable, “[a]ll documents produced will be designated ‘Attorney’s Eyes Only’ so that only

  counsel for Defendant and their legal assistant will view them.” Cappetta v. GC Services, Ltd.

  Partnership, 266 F.R.D. 121, 126, 127 (E.D.Va. 2009) (quoting Vasconcellos v. Cybex Int’l, Inc.,




                                                      5
Case 1:19-cv-00917-RDA-WEF Document 198 Filed 09/23/22 Page 6 of 13 PageID# 3389




  962 F. Supp. 701, 709 (D. Md. 1997). The Court should do likewise here and effectively

  designate records of Plaintiff’s current health treatment “attorney’s eyes only.”

         ii.     Photographs in Plaintiff’s SANE Report

         The wider dissemination of the photographs contained in Plaintiff’s SANE report is

  unnecessary and would subject Plaintiff to embarrassment and undue burden. The SANE report

  was prepared while Plaintiff was a child, and documents injuries to highly intimate areas of

  Plaintiff’s body. There is no reason that individual defendants would need to review these

  photographs. The findings of this examination are described in writing elsewhere in the SANE

  Report, providing an alternative avenue for defense counsel to appraise their clients of the

  content therein. Moreover, section 4 provides an avenue for the Defendants to obtain review of

  the photographs by their own experts and to depose the reports’ authors as necessary.

  Accordingly, the balance of equities favors limited disclosure – these photographs are extremely

  personal and present a high risk of personal embarrassment and burden that is disproportionate to

  the minimal value of allowing individual defendants’ access.

         iii.    Photographs in Plaintiff’s Medical Records

         A similar rationale applies to other photographs in Plaintiff’s medical records. While

  some other photographs, such as headshots, may be innocuous, others may be of a substantially

  more personal nature. By classifying photographs contained in medical records as highly

  confidential, Plaintiff seeks to avoid a situation where unnecessarily embarrassing or

  burdensome materials have been widely disseminated to individual defendants before the parties

  are able to effectively identify and designate such materials as further restricted.

         iv.     Photographs or Video of Sexual Abuse




                                                    6
Case 1:19-cv-00917-RDA-WEF Document 198 Filed 09/23/22 Page 7 of 13 PageID# 3390




         Paragraph 127 of the Second Amended Complaint alleges that defendant J.O. took

  photographs of Plaintiff during a violent sexual assault and threatened to send pictures taken

  during the assault to other students. ECF No.155. Other individuals, including the unknown

  defendants, may also possess photographs or videos of abuse. As noted above, Plaintiff was 12

  years old at the time of the events described in the Complaint. Under Virginia law, sexually

  explicit visual material that depicts an identifiable minor is classified as child pornography, the

  mere possession of which is a criminal offense. See Va. Code §§ 18.2-374.1; 374.1:1. Given the

  extremely strong public policy interest in preventing the dissemination of such materials, as well

  as the tremendous potential for undue embarrassment, annoyance, and oppression from the

  dissemination of any such materials, including any such photographs produced during discovery,

  it stands to reason that any photographs or videos depicting sexual abuse should receive the

  highest level of protection. Moreover, under section 4 of the proposed protective order, persons

  depicted or alleged to have been involved in events depicted in any such content would still

  retain the ability review materials as necessary to conduct their defense.

         v.      Plaintiff and Plaintiff’s Family’s Current Contact Information

     Finally, Plaintiff proposes to treat current contact information for Plaintiff and Plaintiff’s

  immediate family as highly confidential information. The Complaint alleges that at least one

  named defendant repeatedly threated to harm Plaintiff and members of Plaintiff’s immediate

  family, including by making repeated death threats. Moreover, the Complaint alleges that

  several unknown individuals were involved in violent assaults against Plaintiffs, and that such

  assaults were consistent with other incidents perpetrated by known gang members. While some

  may dismiss such threats based on the passage of time, Plaintiff and her family have taken them

  sufficiently seriously to move several times and take measures to limit access to their contact



                                                    7
Case 1:19-cv-00917-RDA-WEF Document 198 Filed 09/23/22 Page 8 of 13 PageID# 3391




  information. Providing the current contact information and physical address of Plaintiff and her

  family to the individuals Plaintiff alleges violently assaulted her risk oppression and undue

  burden while providing little additional value to the defense, particularly since such information

  can be redacted from larger documents to allow the defense to share the contents with their

  clients.

      b. FERPA Protected Documents

             Plaintiff is concerned that the current provisions concerning FERPA protected

  information will lead to impractical delays in producing information and improperly limit lines

  of inquiry during any deposition of school board members or employees. FERPA is not

  supposed to be a prohibitive bar to the release of information in response to a subpoena. To wit,

  FERPA explicitly permits the release of protected information in response to a lawfully issued

  subpoena, as long as parents and students involved are provided reasonable advanced notice. See

  20 U.S.C. § 1232g(b)(2); 34 C.F.R. § 99.31(a)(9).

             The Complaint alleges that F.C.S.B. had a practice of downplaying allegations of sexual

  harassment and/or assault that amounted to a “custom,” and that F.C.S.B. failed to properly train

  its employees to respond to allegations of sexual harassment and/or assault. In addition, Plaintiff

  alleges that the Individual School Defendants violated her equal protection rights by engaging in

  disparate treatment. All of these claims will likely involve discovery into allegations of sexual

  harassment and/or assault by other F.C.P.S. students during a relevant time period and further

  investigation into the facts and circumstances of such claims. This discovery is likely to involve

  FERPA-protected information, and this investigation is likely to require identifying information.

  The time frames set forth in the Stipulated Protective Order would make this discovery and

  processing extremely difficult. As currently drafted, the Stipulated Protective Order provides



                                                     8
Case 1:19-cv-00917-RDA-WEF Document 198 Filed 09/23/22 Page 9 of 13 PageID# 3392




  nearly a month to adjudicate any student objection to the disclosure of any FERPA-protected

  information, during which time such information will not be disclosed.

         In addition, the current Stipulated Protective Order provides that parties may object to the

  disclosure of FERPA protected information during the course of a deposition unless said

  information involves a student who has been provided notice and an opportunity to object. This

  provision creates a substantial risk of placing Plaintiff in a catch-22 when deposing school

  employees: in order to ask about other instances of sexual harassment or abuse, Plaintiff has to

  be able to identify them. However, Plaintiff would be limited in her ability to identify them

  because deponents could claim that such information is protected by FERPA, triggering a 14-24

  day long process.

     c. Unnecessary Exposure of Plaintiff as A Victim of Child Sexual Abuse

         As discussed above, courts above significantly limit the scope of discovery to prevent

  unwarranted harassment of victims of sexual violence. Both this Court and the Fourth Circuit

  have emphasized the need to treat this matter with the utmost privacy.

         Notwithstanding the above, counsel for Defendant F.C.S.B. contacted a former Professor

  of the plaintiff, Major Emma Schiller of the United States Army. Major Schiller did not know the

  plaintiff until she was in college—years after the abuse. Moreover, the plaintiff never disclosed

  to MAJ Schiller she was the victim of sexual violence, nor that she had a pending lawsuit about

  the same. When defense counsel reached out to MAJ Schiller, Schiller responded by asking if

  this was a reference for a job.

         As a result of this inquiry, Plaintiff had to disclose to MAJ Schiller that she was the

  victim of child sexual abuse, as well as the fact she had this lawsuit pending. This was a grave




                                                   9
Case 1:19-cv-00917-RDA-WEF Document 198 Filed 09/23/22 Page 10 of 13 PageID# 3393




   violation of Plaintiff’s privacy, and inconsistent with this Court and the Fourth Circuit’s

   emphasis that this matter be handled with appropriate sensitivity.

          Plaintiff has already produced thousands of pages records, including psychotherapy notes

   from the time she was 12 until today and non-mental health medical records. The defense has

   subpoenaed the employment files of past employers and every single school she has attended

   since junior high, with virtually no objection. These educational records include all

   individualized educational plans (IEPS) and disability accommodations. F.C.P.S. also gave

   plaintiff an 8-hour psychological exam when she was 12 and social security has adjudicated

   plaintiff disabled for post-traumatic stress disorder. The defense will depose the plaintiff, and

   will likely depose the plaintiff's entire immediate family, as well as her treating psychiatrist. At

   a certain point, the need to identify additional people in Plaintiff's current life to determine her

   emotional state is outweighed by the harm it causes the plaintiff. Indeed, the defense, at the

   September 16, 2022, motion hearing already indicated that the therapy records were the most

   important evidence of plaintiff's current emotional state.

          While the defense is entitled to investigate their case, that right has to be coupled with the

   need to protect the plaintiff’s safety and health. The proposed protective order strikes this

   balance, requiring the defendants to demonstrate good cause before contacting someone that

   personally knows the plaintiff but lacks personal knowledge of the events in the complaint. See

   Mailhoit v. Home Depot U.S.A., Inc., 285 F.R.D. 566, 571 (C.D. Cal. Sept 7, 2012) (Noting that

   just because a plaintiff claims emotional damages, “that is hardly justification for requiring the

   production of every thought she may have reduced to writing, or indeed, the deposition of

   everyone she may have talked to.” (quoting Rozell v. Ross-Holst, Case No. 05 Civ. 2936, 2006

   WL 163143 at *3-4 (S.D.N.Y. Jan. 20, 2006) (Mem. Op.)).



                                                     10
Case 1:19-cv-00917-RDA-WEF Document 198 Filed 09/23/22 Page 11 of 13 PageID# 3394




       d. Prohibit Any Inquiry into Plaintiff and Her Immediate Family’s Location

           FRCP 26(b) limits to discovery to only “relevant” information. Here, the location of the

   plaintiff and her immediate family, who are all represented by counsel who is in contact with

   defense counsel, along with their address, has no bearing on any of her claims, nor on her

   damages. It makes no difference if she lives a block from the courthouse or in another country.

           However, as described above, the plaintiff has a real, and substantial fear about her

   physical safety. Moreover, her treating therapist has long written to this court explaining that

   “even the perception her whereabouts” will cause her great distress.

           Moreover, attorney eyes only is not adequate to protect the plaintiff’s location from

   inadvertent disclosure. Between the 2020 cyber breach 3 and the 2021 FOIA release,4 FCPS has

   already shown unable to adequately safeguard protected information.

       e. Other Issues

           In section 1, Plaintiff proposes adding a catch-all phrase “or other records protected under

   [the Health Insurance Portability and Accountability Act (“HIPAA”)” to the definition of

   “confidential materials.” This is intended as a catch-all for health records that mirrors the broad

   protections provided in the Stipulated Protective Order for educational records protected under

   FERPA.

           While we have not seen defendants’ final proposal, versions circulated while the parties

   were conferring included an amendment to redesignate and reproduce all confidential or highly


   3
     Wainman, Laura, Hackers post FCPS student, teacher personal information on dark web, WUSA9, October 10,
   2020
   https://www.wusa9.com/article/news/education/fairfax-county-public-schools-student-teacher-data-hacked-on-dark-
   web-ransomware-attack/65-6e6d455b-a652-440f-beb3-aac6abf80465
   4
     Minock, Nick, Virginia judge's ruling favors Fairfax County moms seeking to expose school board spending,
   WJLA, November 21, 2021
   https://wjla.com/news/crisis-in-the-classrooms/virginia-judge-ruling-favors-fairfax-county-moms-fcps-school-
   board-spending-debra-tisler-callie-oettinger-goldwater-institute


                                                         11
Case 1:19-cv-00917-RDA-WEF Document 198 Filed 09/23/22 Page 12 of 13 PageID# 3395




   material within 14 days of the entry of a revised protective order. This provision – particularly

   the requirement to reproduce materials -- would be burdensome and unnecessary. To date,

   thousands of pages of documents have been produced, largely by third parties associated with

   Plaintiff. The proposed categories of highly confidential information are straightforward, and do

   not require a high degree of subjective judgment to implement.

                                            CONCLUSION

          For the foregoing reasons, the Stipulated Protective Order should be modified as

   proposed.


          Dated: September 23, 2022                     Respectfully submitted,

                                                        /s/ David A. Warrington
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                                                   12
Case 1:19-cv-00917-RDA-WEF Document 198 Filed 09/23/22 Page 13 of 13 PageID# 3396




                                        CERTIFICATE OF SERVICE

             I hereby certify that I electronically filed the foregoing with the Clerk of the Court using

   the CM/ECF system, which will send a notification of such filing to all counsel of record in this

   action.

      Date: September 23, 2022

                                                                   By: /s/ David A. Warrington
                                                                           David A. Warrington




                                                      13
